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                        EXHIBIT 1
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                                Transcript of First GMA Story
               Video Attached as Exhibit 1-A to the Declaration of Erik MacRobbie

DAN HARRIS (ABC NEWS): Now, to the outrage over a video showing an encounter between
teenagers and a Native American veteran near the Lincoln Memorial.

WHIT JOHNSON (ABC NEWS): (Voiceover) This video sparking heated social media debates
with criticism on both sides. ABC’s Erielle Reshef joins us with that story. Erielle, good morning.

ERIELLE RESHEF (ABC NEWS): Good morning to you guys. This morning, new questions
about the troubling incident at the foot of the Lincoln Memorial. A school investigating and
promising action as some of those involved call for unity.

ERIELLE RESHEF: (Voiceover) New fallout and confusion this morning after this upsetting
incident now going viral. A group of teenagers, some Catholic high school students, seen wearing
Make America Great Again hats, appearing to face off with Nathan Phillips, a 65-year-old Native
American, as he pounds his drum near the Lincoln Memorial during an Indigenous Peoples March.

NATHAN PHILLIPS: I heard them saying, “Build that wall. Build that wall.” You know, this is
indigenous lands. You know, we’re not supposed to have walls here. We never did.

ERIELLE RESHEF: (Voiceover) Videos of the encounter shared widely on social media. Swift
backlash against the behavior of those Kentucky teens, who traveled to Washington this past
Friday on a school trip to attend the March For Life. The diocese of Covington Catholic High
School, where some of the boys attend, condemning their actions saying in a statement, “This
behavior is opposed to the church’s teachings of dignity and respect. The matter is being
investigated and we will take appropriate action up to and including expulsion.”

ERIELLE RESHEF: (Voiceover) Overnight, new video calling into question just how this
encounter began.

STUDENTS: CCH! CCH!

ERIELLE RESHEF: (Voiceover) Appearing to show Phillips approaching the crowd of boys as
they chant their school letters. ABC News has tried to identify and contact the students in the
video. The parent of a boy who says he was there and wants to remain anonymous sent us a
statement that reads in part, “An indigenous American man with a few other men approached the
center of the boys and in particular one boy. The boy from my school didn’t say anything or move.
He just stood there. As time went on, the man with the drum got closer to his face. After a couple
of minutes of the man standing there beating the drum in the boy’s face, he walked away.”

ERIELLE RESHEF: (Voiceover) But on this Martin Luther King weekend, the youngest daughter
of the civil rights icon tweeting, “This is ugly, America. Truth, education and corrective action
matter.” And from Phillips himself, this tear-filled plea for a teachable moment.

NATHAN PHILLIPS: I wish I could see that young men put that energy into, you know, making
this country really, really great.
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ERIELLE RESHEF: It’s not clear if all of the young people involved were students. One Native
American man who was there tells the Associated Press, guys, that he initially thought that this
could spiral out of control, there would be a mob mentality, but some of those students actually
ended up joining the Native American men and women that were singing there. And it ended up
defusing peacefully. So that’s what we don’t see in some of the video.

WHIT JOHNSON: Yeah.

DAN HARRIS: More complicated than it appears.

ERIELLE RESHEF: Definitely complicated and that’s a little bit of reassurance.

DAN HARRIS: Thank you, Erielle. Appreciate it.
